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   EXHIBIT Q- NICKERSTICKERS


    ORIGINAL WORKS BY                   INFRINGING WORKS ON TEESPRING
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                                        https://teespring.com/shop/Smart-Boxer-Dog?aid=m
                                        arketplace&tsmac=marketplace&tsmic=search#pid=
                                        212&cid=5819& sid=front  




                                                                                               


                                        https://teespring.com/shop/Smart-Australian-Cattle-
                                        Dog-H?aid=marketplace&tsmac=marketplace&tsmi
                                        c=search#pid= 212&cid=5819&sid=front  
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                                        https://teespring.com/shop/Smart-Goldendoodle-Lab
                                        radoodl?aid=marketplace&tsmac=marketplace&tsmi
                                        c=search#pid= 212&cid=5819&sid=front  




                                                                                             




                                                                                             




                                                                                             
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                                        https://teespring.com/shop/Smart-Dogo-Argentino-D
                                        og?aid=marketplace&tsmac=marketplace&tsmic=se
                                        arch 




                                                                                             




                                                                                             
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